ILND 450 (Rev. 10/13) Judgment in a Civil Action


                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

TANYA STRONG-DAVIS,

Plaintiff,
                                                                   Case No. 18-cv-02426
v.                                                                 Judge Mary M. Rowland

UNITED ROAD TOWING, INC. et al.,

Defendant(s).

                                                   JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


              in favor of defendant(s) United Road Towing, Inc., URT United Road Towing, Inc., E&R
Towing, Inc, and URT E&R Towing, Inc.
              and against plaintiff Tanya Strong-Davis.
.
      Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
     tried by Judge Mary M. Rowland without a jury and the above decision was reached.
     decided by Judge Mary M. Rowland on a motion for summary judgment.


Date: 9/30/2020                                                Thomas G. Bruton, Clerk of Court

                                                        Dawn A. Moreno, Deputy Clerk
